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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
         Plaintiff,                           )
                                              )
    v.                                        )       No. 4:19-CR-676-AGF
                                              )
ANTOINE ADEM,                                 )
                                              )
         Defendant.                           )
                                              )


                                          ORDER

         This matter is before the Court on Defendant’s Motion to Permit Immediate Release

From Jail Less Than One Week Early Based on Global Pandemic. (Doc. No. 43). On

December 20, 2019, Defendant was sentenced to a term of imprisonment of 45 days. In his

motion, Defendant states that he is currently being held at the Ste. Genevieve County jail,

and that he is scheduled to be released on March 25, 2020 according to the Bureau of

Prisons website. He requests that he be released early in light of the risks posed by the

COVID-19 pandemic, and states that the United States does not oppose the motion.

         Although the undersigned recognizes the seriousness of the current health

emergency posed by the COVID-19 pandemic, the Court is unaware of any statutory

authority that permits a reduction of Defendant’s sentence on this record, and Defendant has

cited no such authority. The law is clear: absent statutory authority, the Court cannot

reduce a final sentence. Section 3582(c) of Title 18 provides authority for a court to reduce

a sentence under certain narrow circumstances, none of which appear to apply here. The
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cases cited by Defendant all pertain to determinations whether to detain a defendant pre-trial

or release him on conditions of release, and have no application here.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant's Motion to Permit Immediate Release

From Jail Less Than One Week Early Based on Global Pandemic [Doc. No. 43] is

DENIED.

       Dated this 19th day of March, 2020.



                                                __________________________________
                                                AUDREY G. FLEISSIG
                                                UNITED STATES DISTRICT JUDGE




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